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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
  vs.                                             §            Case No. 4:08cr59
                                                  §            (Judge Crone)
 KEITH EDWARD HALEY (2)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on March 6, 2014, to determine whether Defendant violated his supervised

 release.

        On October 23, 2008, Defendant was sentenced by the Honorable Marcia A. Crone to forty-

 four (44) months followed by four (4) years of supervised release for the offense of Conspiracy to

 Distribute or Possess with Intent to Distribute or Dispense Ecstasy, Methamphetamine, and GHB. On

 August 3, 2010, Defendant completed his period of imprisonment and began service of his

 supervised term.

        On February 7, 2012, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated various mandatory and standard

 conditions.

        The petition alleges that Defendant committed the following acts: (1) On February 6, 2012,

 Defendant was arrested by the Denton County Sheriff’s Department on a complaint alleging he

 committed the offenses of Manufacture and Delivery of a Controlled Substance in Penalty Group

 1; and Manufacture and Delivery of a Controlled Substance in Penalty Group 1, to wit, GHB; (2)

 According to the Affidavit of Probable Cause, Defendant was taken into custody in Dallas, Texas,
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     after transporting 80 gallons of GBL, a precursor to the manufacture of GHB. Subsequent to being

     taken into custody, Defendant cooperated with the arresting officers and consented to a search of his

     apartment, wherein officers discovered a large amount of U.S. currency, four individual baggies

     containing methamphetamine, approximately three-fourths of a gallon of a clear liquid which field

     tested positive for the presence of GHB, approximately 13 grams of marijuana, and digital scales and

     other drug paraphernalia items; and (3) Defendant was booked into the Denton County Jail and was

     being held on bond.

            Prior to the Government putting on its case, Defendant entered a plea of true to all of the

     violations. The Court recommends that Defendant’s supervised release be revoked.

                                          RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of twelve (12) months, to be

     served consecutively to any sentence of imprisonment that the Defendant is serving, with no

     supervised release to follow.

.           After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.



          SIGNED this 3rd day of April, 2014.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES MAGISTRATE JUDGE
